Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 1 of
                                           45



                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                   §    Case No.20-10846
                                                            §
   THE ROMAN CATHOLIC CHURCH                                §    Section "A"
   OF THE ARCHDIOCESE OF NEW                                §
   ORLEANS                                                  §    Chapter 11
                                                            §
                     Debtor.^                               §
                                                            §



          SUMMARY COVER SHEET TO FIRST INTERIM APPLICATION FOR
       ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
           OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
     CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD FROM MAY 22.2020 THROUGH SEPTEMBER 30.2020




Name of Applicant:                                                           Pachulski Stang Ziehl & Jones LLP

                                                                             Co-Counsel to the Official Committee of
Applicant's Professional Role in Case                                        Unsecured Creditors

                                                                             Effective May 22, 2020 pursuant to Order
Date Order of Employment Signed                                              dated July 17, 2020 [Docket No. 257]

                                                                             Beginning of
                                                                                                      End ofPeriod
                                                                                 Period


Time period covered by this Application:                                     05/22/2020        09/30/2020


Time period(s) covered by prior Applications:                                N/A               N/A


Total amounts awarded in all prior Applications:                                                N/A


Total fees requested in this Application:                                                                      $900,175.50




   'The last four digits ofthe Debtor's federal tax identification number are 8966. The Debtor's principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.

                                                             1

   DOCS LA:334159.1 05067/002
    Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 2 of
                                               45



    Total professional fees requested In this Application^:                                        $846,992.50

    Total actual professional hours covered by this Application:                                       1,210.30

    Average hourly rate for professionals:                                                             $699.82


    Total paraprofessional fees requested in this Application:                                       $68,123.00

    Total actual paraprofessionals hours covered by this Application                                    159.80


    Average hourly rate for paraprofessionals:                                                         $426.30


    Reimbursable expenses sought in this Application:                                                 $6,859.09



                  PSZJ professionals who rendered services for the Official Committee of Unsecured

        Creditors(the "Coinmittee") in this Chapter 11 case concerning the above captioned debtor and

        debtor-in-possession (the "Debtor"'') during this Application Period are listed below.

        SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS
                                  MAY 22.2020 THROUGH SEPTEMBER 30.2020

                                                               YEAR OF                TOTAL
     NAME OF                                YEAR OF                         HOURLY                   TOTAL
                            TITLE                             PARTNER                 HOURS
 PROFESSIONAL                             ADMISSION                          RATE                COMPENSATION
                                                                  SHIP                BILLED


                                            Member of
                          Founding                                          $700.00     203.40         $142,380.00
James I. Stang                             CA Bar since
                          Partner
                                                1980


                                            Member of
                                           CA Bar since
Linda F. Cantor           Partner         1991; Member            1994      $700.00     558.40         $390,930.00
                                             ofIL Bar
                                            since 1988

                                            Member of
Henry C. Kevane           Partner          CA Bar since           1997      $700.00       3.40            $2,380.00
                                                1986


                                            Member of
Harry D. Hochman          Of Counsel       CA Bar since               N/A   $700.00      29.40          $20,580.00
                                                1987




          This amount is subject to adjustment, as set forth below.


        DOCS LA:334I59.1 05067/002
    Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 3 of
                                               45



                                       Member of
                                      NY Bar since
Iain A. W.Nasatir        Partner      1983; Member     1999   $700.00    13.40        $9,380.00
                                       of CA Bar
                                       since 1990


                                       Member of
John A. Morris           Partner      NY Bar since     2008   $700.00   99.00        $69,300.00
                                          1991


                                       Member of
                                      CA Bar since
Joshua M. Fried          Partner      1995; Member     2006   $700.00   72.50        $50,750.00
                                       of NY Bar
                                       since 1999

                                       Member of
Kenneth H. Brown         Partner      CA Bar since     2001   $700.00    6.30         $4,410.00
                                          1981


                                       Member of
                                      CA Bar since
                                      1999; Member
                                      of Washington                                 $128,100.00
Gillian N. Brown         Of Counsel                    N/A    $700.00   183.00
                                      D.C. Bar since
                                      2008; Member
                                       of NY Bar
                                       since 2010


                                       Member of
James K. T. Hunter       Of Counsel   CA Bar since     N/A    $700.00     8.30        $5,810.00
                                         1976

                                       Member of
John W.Lucas             Partner      CA Bar since     2014   $700.00     .70           $490.00
                                          2010


                                       Member of
Gina F. Brandt           Of Counsel   CA Bar since     N/A    $700.00    19.90       $13,930.00
                                          1976


                                       Member of
Maxim B. Litvak          Partner      CA Bar since     2004   $700.00      .50          $350.00
                                          2001


                                      Member of FL
Cia H. Mackle            Of Counsel     Bar since      N/A    $675.00     9.60        $6,502.50
                                          2006




        DOCS LA:334159.1 05067/002
    Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 4 of
                                               45



                          Law
Leslie A. Forrester       Library     N/A      N/A        450.00        9.40          $4,230.00
                          Director


Beth D. Dassa             Paralegal   N/A      N/A        $425.00      49.80         $21,165.00

La Asia S. Canty          Paralegal   N/A      N/A        $425.00      75.60         $32,130.00

Nancy P.P. Lockwood       Paralegal   N/A      N/A        $425.00      24.10         $10,242.50

                          Case
MDJ                                   N/A      N/A        $395.00        .90            $355.50
                          Assistant


Total                                                                U67.60         $913,365.50

Voluntary                                                                             <$12,500>
Adjustment Agreed
Upon With UST

Accounting                                                                            <$690.00>
Adjustment

Total fees requested                                                                $900,175.50
in this Application:




         DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 5 of
                                           45



                                 COMPENSATION BY CATEGORY
                            MAY 22.2020 THROUGH SEPTEMBER 30.2020



        Code                          Description        Hours          Amount


        AA          Asset Analysis/Recovery                 18.10            $2,520.00

        AD          Asset Disposition                        3.40            $2,380.00

        BL          Bankruptcy Litigation                  555.90          $366,960.00

        CA          Case Administration                     34.50           $18,155.00

        CO          Claims Administration/Objections       413.10          $280,820.50

        EE          Employee Benefit/Pension                11.00            $7,700.00

        FE          Fee/Employment Application              91.20            56,400.00

        FN          Financing                               42.60           $29,820.00

        GC          General Creditors Comm.                173.30          $121,310.00

        OP          Operations                              16.70           $11,690.00

        SL          Stay Litigation                          7.80            $5,460.00

                    TOTAL                                 1,367.50         $913,365.50

 Voluntary                                                                   <$12,500>
 Adjustment
 Agreed Upon
 With UST


 Accounting                                                                  <$690.00>
 Adjustment

 Total Fees
                                                                            $900,175.50
 Requested In
 This
 Application:




   DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 6 of
                                           45



            The total amount ofexpenses by expense type for PSZJ during the Application Period is
   listed below.


                                     EXPENSES BY CATEGORY
                            MAY 22.2020 THROUGH SEPTEMBER 30.2020



                                Expense Category                                     Amount


 Bloomberg                                                                                 $1,681.60

 Conference Call                                                                             $159.33

 Federal Express                                                                             $130.76

 Filing Fee                                                                                   $44.00

 Lexis/Nexis-Legal Research                                                                  $338.33

 Legal Vision Attorney Messenger Service                                                      $23.00

 Miscellaneous                                                                                 $3.00

 Outside Services                                                                            $123.00

 Pacer - Court Research                                                                      $351.80


 Postage                                                                                      $52.70

 Reproduction Expense                                                                        $417.80


 Reproduction/Scan Copy                                                                      $448.20

 Research                                                                                  $1,361.94

 Transcript                                                                                $1,723.63

 TOTAL                                                                                     $6,859.09




   DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 7 of
                                           45



                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF LOUISIANA


   IN RE:                                                    §    Case No.20-10846
                                                             §
   THE ROMAN CATHOLIC CHURCH                                 §    Section "A"
   OF THE ARCHDIOCESE OF NEW                                 §
   ORLEANS                                                   §    Chapter 11
                                                             §
                     Debtor.^                                §
                                                             §


                                   FIRST INTERIM APPLICATION FOR
      ALLOWANCE AND PAYMENT OF COMPENSATION AND REIMBURSEMENT
           OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP AS
     CO-COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD FROM MAY 22.2020 THROUGH SEPTEMBER 30.2020



            A HEARING WILL BE CONDUCTED ON THIS MATTER ON
            DECEMBER 17. 2020. AT 1:30 P.M. BY TELEPHONE THROUGH THE
            DIAL-IN FOR SECTION A 1-888-684-8852; CONFERENCE CODE
            9318283. IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS
            PLEADING, YOU MUST RESPOND IN WRITING. UNLESS DIRECTED
            OTHERWISE BY THE COURT, YOU MUST FILE YOUR RESPONSE
            WITH THE CLERK OF THE BANKRUPTCY COURT NO LATER THAN
            SEVEN (7)DAYS BEFORE THE HEARING DATE.YOU MUST SERVE A
            COPY OF YOUR RESPONSE ON THE PERSON WHO SENT YOU THE
            NOTICE; OTHERWISE,THE COURT MAY TREAT THE PLEADING AS
            UNOPPOSED AND GRANT THE RELIEF REQUESTED.


            Pachulski Stang Ziehl & Jones LLP rTSZ&J''or "PSZJ" or the "Firm"), co-counsel for

   the Official Committee of Unsecured Creditors (the "Committee")of The Roman Catholic

   Church of the Archdiocese of New Orleans (the "Debtor"), hereby submits its First Interim

   Applicationfor Allowance and Payment ofCompensation and Reimbursement ofExpenses of

   Pachulski Stang Ziehl & Jones LLP, as Co-Counselfor the Official Committee of Unsecured

   ^ The last four digits ofthe Debtor's federal tax identification number are 8966. The Debtor's principal place of
   business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
                                                             7

   DOCS LA:334159.1 05067/002
   Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 8 of
                                              45



        Creditorsfor the Period From May 22, 2020 Through September SO, 2020 (the "Application*^).

        In support ofthe Application, PSZ&J respectfully represents as follows:

                                                     1.         INTRODUCTION

                 In this Application, the Firm seeks interim allowance and payment,to the extent unpaid,

        ofthe amounts set forth below for work performed between May 22,2020 through September

        30, 2020.

                                           REQUESTED                    FEES(AFTER                  80% FEES;
                                                                             ALL                100% EXPENSES
                                                                       REDUCTIONS)

  Period          Fees(at        (Reductions         (Further                Fees             80% Fees          100%            20%
 Covered         Standard            from            Voluntary                                                Expenses        Amount of
                   Rates)          Standard         Reductions)                                                               Holdback
                                     Rates)

5/22/2020 -
6/30/2020     $341,188.50        $113,758.50      $12,500.00^          $228,160.00          $182,528.00       $984.42        $47,143.00


7/1/2020 -
7/31/2020     $217,595.00        $68,095.50       $7,882.00            $141,617.50          $113,294.00       $548.61        $28,323.50

8/1/2020 -
8/31/2020)    $465,701.00        $120,056.00      $4,100.00            $341,545.00          $273,236.00       $2,617.80      $68,309.00

9/1/2020 -
9/30/2020)    $281,843.00        $86,970.00       $4,270.00            $190,603.00          $152,482.40       $2,708.26      $38,120.60

TOTAL          $1,336,500.10      $388,880.00     $45,694.60           $901,925.50          $721,540.40       $6,859.09      $181,896.10

TOTAL                                                                                       $306,811.00^      $1,533.03      N/A
PAID


AMOUNT
UNPAID                                                                                      $414,729.40       $5,326.06
AND
OWING




        "In addition to the voluntary reductions set forth at the time ofthe fee statement, pursuant to the request of the
        Office ofthe United States Trustee (the "OUST"). PSZJ agreed to an additional discount of$12,500.00.
        5 The amount paid includes an overpayment of$10,989.00 in fees due to a calculating error, to be address by the
        Firm with the Debtor in the immediate future.
                                                                   8

        DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 9 of
                                           45



                                     II.    JURISDICTION AND VENUE

              1.      The Court has jurisdiction to consider this Application pursuant to 28 U.S.C.

   §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

              2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

              3.      The bases for the relief requested herein are sections 330 and 331 oftitle 11 ofthe

   United States Code, 11 U.S.C. §§ 101-1532(the '^Bankruptcy Code"\ Rules 2014 and 2016 of

   the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"). Rules 2014-1 and 2016-1

   ofthe Bankruptcy Local Rules for the Eastern District of Louisiana (the "Local Rules"), Section

   XIII(B)of the Court's December 4, 2019 General Order Regarding Procedures ofComplex

   Chapter 11 Cases(the "Complex Case Order"), and the United States Trustee Guidelinesfor

   Reviewing Applicationsfor Compensation and Reimbursement ofExpenses by Attorneys in

   Larger Chapter 11 Cases(the"UST Guidelines").

                                           III.   BACKGROUND


       A.          Introduction

              4.      On May 1,2020(the "Petition Date"). The Roman Catholic Church ofthe

   Archdiocese of New Orleans(the "Archdiocese")filed a yoluntary petition for relief under the

   Bankruptcy Code.

              5.      The Debtor remains in possession of its property and is managing its business as a

   debtor in possession pursuant to §§ 1107(a) and 1108 ofthe Bankruptcy Code, 11 U.S.C. § 101
   et. seq.

              6.      On May 20, 2020, the Office of the United States Trustee for Region 5 (the "U.S.
   Trustee") appointed the Committee pursuant to section 1102(a)(1) of the Bankruptcy Code
   [Docket #94].

                                                       9

   POCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 10 of
                                           45



             7.       On May 22,2020, the Committee conducted its first meeting and at that meeting

    unanimously selected PSZJ and Locke Lord LLP ("Locke Lord")to serve as co-counsel.

        B.         Employment of the Firm

             8.       On June 22,2020,the Committee filed an Application to Employ Pachulski Stang

    Ziehl & Jones LLP as Co-Counsel[Docket No. 181](the "Retention Application"). As more

    fully described in the Retention Application, the Committee retained the Firm to render legal

    services to the Committee in this Bankruptcy Case.

             9.       On July 17, 2020,this Court entered the Order Authorizing the Employment and

    Retention ofPachulski Stang Ziehl & Jones LLP as Co-Counselfor the Official Committee of

    Unsecured Creditors[Docket No. 257](the "Retention Order"). The Retention Order approved

    the Firm's retention as the Committee's co-counsel in this Bankruptcy Case.


                      IV.        WORK PERFORMED AND RESULTS OBTAINED /
                                  EXTRAORDINARY CIRCUMSTANCES


             10.      The Firm provided, and continues to provide, extensive legal services to the

    Committee in this Bankruptcy Case. The Firm has attached to this Application copies of the

    Firm's Monthly Fee Statements to which are appended Invoices(the "Invoices") setting forth the
    time-keeping entries generated by those Firm personnel who worked on this matter during
    Application Period from May 22,2020 through September 30,2020.

             11.      Although the Committee submits that this Chapter 11 case should be dismissed

    for the reasons submitted in its Motion to Dismiss Chapter 11 Case [Docket #203],

    notwithstanding that request(which is still pending), the Committee and its counsel have

    undertaken strenuous efforts to move this case forward towards a resolution of creditor claims, to

    achieve the goal ofthe most favorable resolution to unsecured creditors possible. The actions

                                                      10

    DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 11 of
                                           45



    undertaken include the following.

    A.      Negotiation of Claims Bar Date and Noticing Program

            12.      The Debtor filed a motion for a claims bar date with a completely unrealistic 60-

    day claims deadline, an unworkable claims form, and without any significant noticing program

    or noticing expert. Following the precedent of numerous other church diocese cases, the

    Committee located and retained noticing and claim experts, drafted and negotiated a completely

    different claims form, and formulated a comprehensive noticing program under the guidance of

    the noticing expert retained by the Committee.

            13.      While the Committee endeavored to negotiate these matters, the Debtor persisted

    in resisting the Committee's efforts. The Committee retained experts because the Debtor refused

    to do so, and even then the Debtor contested the Committee's expert's advice and opinions,

    backtracked on matters that had been the subject of agreement and the matter devolved from

    what could have been a productive and consensual resolution ofa case milestone into an

    unnecessarily contested and lengthy hearing (the longest hearing in the case to date). The end
    result was a more appropriate bar date order and deadline, claims form, and noticing program
    much more consistent with past practice in other cases, and tailored for the unique circumstances

    of this bankruptcy case, but this only came as the result ofthe tenacious efforts ofthe
    Committee.


    B.      Action to Move Forward Resolution of Claims and Plan Negotiations

            14.      The Committee recognizes that, if this case is not dismissed, that the most likely

    outcome and resolution of claims will come through a plan of reorganization. To that end, the

    Committee has worked to move this process forward, which begins with a comprehensive

    investigation and analysis ofthe Debtor's financial circumstances and structure, which is
                                                      11

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 12 of
                                           45



    necessary to inform negotiations concerning potential resolution ofclaims.^

             15.      The Committee and its counsel has undertaken significant work to perform

    financial investigation, including through the analysis and review performed under the discovery

    performed in connection with the motion to dismiss(including expert review and five

    depositions), analysis of financial information provided by the Debtor, the Schedules and

    Statements of Financial Affairs, and testimony and questioning at the Section 341 examination.

    Investigation continues and the Committee is currently gathering additional information from the

    Debtor and its non-Debtor affiliates.

             16.      In addition, the Committee has considered action in connection with the Debtor's

    unusual(and never explained)step of expending the significant estate resources to remove all

   (more than 30)pending state court abuse lawsuits to federal district court. The Committee and

    its counsel have been evaluating the potential impact on the bankruptcy process and plan

    negotiations. (In addition, the removal to federal court was discussed at length by the Debtor in
    connection with the motion to dismiss.) The Committee has researched and considered taking

    the same action as was taken by the official unsecured creditors' committee in the Diocese ofSan

    Diego case, in which that committee filed a detailed brief in support ofremanding all ofthe
    removed abuse claims related to that Chapter 11 case given the state of negotiations in the case

    to resolve the plan treatment for all creditors and the potential impact on the unsecured creditor




    ^ As discussed In more detail below,the Debtor has been slow to provide information and there has been an overall
    lack oftransparency. To take just one example, the Debtor scheduled [See Docket #104]211 separate real estate
    properties each with "undetermined" values. Through discovery requests, the Committee received appraisals for
    some properties but no comprehensive or further valuation information has been provided. The Debtor originally
    scheduled [See Docket #104]all or virtually all of its trade creditors as disputed, contingent, and unliquidated. (This
    was only corrected after the Committee protested.)
                                                              12

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 13 of
                                           45



    body.'

        C.         Negotiated or Litigated Resolution of Various Other Motions and Requests for
                   Relief


             17.      Additional matters include:

             •        The extraordinary and unprecedented request by the Bond Trustee for payment of
                      pre- and post-petition interest and attorney's fees, in advance of filing and
                      confirmation of a plan. The Committee negotiated significant changes includes
                      withdrawal of the request for payment of attorney's fees, and reservation of rights
                      to protect the rights ofthe unsecured creditors in light ofthe uncertain outcome of
                      this case.^

             •        Various "first day" motions and negotiating and resolving orders on same.

             •        Negotiation ofa protective order concerning document production.

             •        Addressing motions to lift stay, motions to pay secured claims, and a motion
                      (later withdrawn)to sell property under Section 363 ofthe Bankruptcy Code.


        D.         Motion to Dismiss

             18.      As the Court and parties are well aware,the Committee filed a motion to dismiss

    this case and the Committee believes that the Chapter 11 case cannot be maintained as a bad

    faith filing. The Committee and counsel engaged in expedited but extensive discovery including
    five depositions, expert analysis and review, and document discovery (reviewing more than
    32,000 pages of material). The process was also instrumental as part ofthe financial
    investigation discussed above, which is a necessary step towards eventual resolution ofthis case.



  ' After the Committee began investigating this issue, a creditor who is not a member ofthe Committee (but who is
  represented by counsel who also represents Committee members)filed a motion to remand a district court suit.
    Because ofthe common interest between the Committee and this creditor(and so as to not impair the Committee's
    potential action on this issue), this matter was discussed in multiple meetings ofthe full Committee, and the
    Committee and counsel reviewed and commented on the briefing on this issue. The Committee reserves the right to
    take further action on this issue and investigation continues.
    ^ The Committee was also forced to address the Bond Trustee's conflict ofinterest which resulted in its removal
    from the Committee. That matter is now the subject of a contested matter before the Court.
                                                              13

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 14 of
                                           45



    in the event that the case is not dismissed.

        E.         Contentious Nature of Case

             19.      This case has already been contentious, and in the Committee's view,

    unnecessarily so. The Debtor has shown a manifest lack oftransparency and has been largely

    unwilling to cooperate with the Committee's investigation and efforts to move the case forward.

    The Debtor, in an apparent effort to stymie the Committee's access to information, has been slow

    to respond to information requests and has not responded at all to many requests. (Some ofthe

    most basic information requested by the Committee has never been produced, including

    insurance policies, shared services agreements, banking and financial data, real estate valuation

    information, employee pension information and abuse claims information, despite numerous

    requests.) Monthly financial information that was to be shared with the Committee's financial
    advisors has been redacted to such an extent that the information is practically unintelligible.

    Almost all ofthe information that the Committee has been able to obtain firom the Debtor in this

    Case has only been produced through contested discovery proceedings.

             20.      Nevertheless, the Committee and counsel will continue to work in good faith to

    attempt to move this matter forward, and as necessary, will bring matters to the Court. The
    Committee and its counsel are dedicated to resolving matters in the maimer most beneficial to

    unsecured creditors as a whole.

                      V.         NATURE AND EXTENT OF LEGAL SERVICES PROVIDED

             21.      This Application has been prepared in accordance with sections 330 and 331 of
    the Bankruptcy Code, Rules 2014 and 2016 ofthe Bankruptcy Rules, Rules 2014-1 and 2016-1
    ofthe Local Rules, the UST Guidelines, and Section XIII(B)ofthe Court's December 4, 2019



                                                      14

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 15 of
                                           45



    General Order Regarding Proceduresfor Complex Chapter 11 Cases(the "Complex Case

    Order").


            22.      On October 6, 2020,PSZ&J submitted its first monthly fee statement(the "First

    Monthly Fee Statement") covering the period from May 22, 2020 through June 30, 2020. PSZJ

    incurred fees at its standard rates of$341,188.50. After the reduction due to reduced rates in the

    amount of$113,758.50 and further voluntary reductions of$16,942.60,PSZJ total fees for the

    First Monthly Statement are in the amount of$240,660.00. Further, pursuant to an agreement

    with the Office of the United States Trustee("OUST").PSZJ further reduced its fees $12,500.00.

    Thus, in its First Monthly Fee Statement,PSZJ requested an interim allowance ofreduced fees in

    the amount of $228,160.00, and further requested payment of80% ofsuch reduced fees in the

    amount of$182,528.00 and 100% ofexpenses in the amount of$984.42 for a total amount of

    $183,512.42. Attached hereto as Exhibit A is a true and correct copy of the First Monthly Fee

    Statement.


            23.      On October 16,2020,PSZ&J submitted its second monthly fee statement(the

    "Second Monthly Fee Statement") covering the period from July 1, 2020 through July 31,2020.

    PSZJ incurred fees at its standard rates of $217,595.00. After the reduction due to reduced rates

    in the amount of$68,095.50 and further voluntary reductions of $7,882.00, PSZJ total fees for

    the Second Monthly Statement are in the amount of$141,617.50. Thus,in its Second Monthly
    Fee Statement, PSZJ requested an interim allowance of reduced fees in the amount of

    $141,617.50, and further requested payment of80% of such reduced fees in the amount of

    $113,294 and 100% ofexpenses in the amoxmt of $548.61 for a total amount of$142,166.11.

    Attached hereto as Exhibit B is a true and correct copy of the Second Monthly Fee Statement.



                                                    15

    DOCS LA;334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 16 of
                                           45



            24.      PSZ&J has received payment on the First Monthly Fee Statement and Second

    Monthly Fee Statement in the total amount of$308,344.03, representing $306,811.00 in fees and

    $1,533.03 in expenses.^

            25.      On November 24,2020,PSZ&J submitted its third monthly fee statement(the

    "Third Monthlv Fee Statement")covering the period from August 1,2020 through August 31,

    2020. PSZJ incurred fees at its standard rates of$465,701.00. After the reduction due to

    reduced rates and further voluntary reductions of$124,156, PSZJ total fees for the Third

    Monthly Statement are in the amount of$341,545.00. Thus, in its Third Monthly Fee Statement,

    PSZJ requested an interim allowance of reduced fees in the amount of$341,545.00 and further

    requested payment of80% ofsuch reduced fees in the amount of$273,236.00 and 100% of

    expenses in the amount of$2,617.80 for a total amount of$275,853.80. Attached hereto as

    Exhibit C is a true and correct copy of the Third Monthly Fee Statement.

            26.      On November 24,2020,PSZ&J submitted its fourth monthly fee statement(the

    "Fourth Monthlv Fee Statement") covering the period from September 1,2020 through

    September 30,2020. PSZJ incurred fees at its standard rates of$281,854.00. After the reduction

    due to reduced rates and further voluntary reductions of$91,250.00,PSZJ total fees for the

    Fourth Monthly Statement are in the amount of$190,603.00. Thus,in its Fourth Monthly Fee

    Statement, PSZJ requested an interim allowance ofreduced fees in the amount of$190,603.00

    and further requested payment of80% ofsuch reduced fees in the amount of$152,482.40 and

    100% ofexpenses in the amount of$2,708.26 for a total amount of$155,190.66. Attached

    hereto as Exhibit D is a true and correct copy ofthe Fourth Monthly Fee Statement.




  'The amount paid includes an overpayment of$10,989.00 in fees due to a calculating error, to be address by the
    Firm with the Debtor in the immediate future.
                                                          16

    DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 17 of
                                           45



            27.      PSZ&J seeks interim allowance offees for professional services rendered during

    the period from May 22, 2020 through September 30, 2020(the "Application Period") in the

    amount of$900,175.50 and reimbursement of actual and necessary expenses incurred during the

    Application Period in the amount of$6,859.09 for a total allowance of$907,034.59, and requests

    payment of such fees and costs to the extent unpaid. During the Application Period,PSZ&J's

    attorneys and paraprofessionals expended a total of 1,367.50 hours for which compensation is

    requested.

            28.      The fees charged by PSZ&J in these cases are billed in accordance with its billing

    rates and procedures set forth in the Retention Application.

            29.      The standard hourly rates for the PSZJ attorneys working on this matter range

    from $925 to $1,195 per hour for partners, and $650 to $995 per hour for ofcounsel. The

    standard hourly rate for paraprofessionals range from $425 to $450 per hour. Notwithstanding

    the foregoing, if PSZJ cumulative fees exceed a blended rate of$700 per hour (for attorneys

    only), the Firm agreed to cap its fees to the extent the fees incurred under the standard hourly
    rates exceed a blended hourly rate of $700. Such fees are reasonable based on the customary

    compensation charged by comparably skilled practitioners in comparable non-bankruptcy cases
    in a competitive national legal market.

            30.      Pursuant to the UST Guidelines, attached hereto as Exhibit E is a summary

    setting forth all professionals and paraprofessionals employed by PSZ&J who have performed
    services in this Chapter 11 Case during the Application Period, the capacities in which each such
    individual is employed by PSZ&J,the hourly billing rate charged by PSZ&J for services
    performed by such individual, and the aggregate number of hours expended and fees billed.
            31.      The Firm provided, and continues to provide, extensive legal services to the

                                                     17

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 18 of
                                           45



    Committee in this Bankruptcy Case. The Firm has attached to this Application copies ofthe

    Firm's Invoices(the "Invoices") setting forth the time-keeping entries generated by those Firm

    personnel who worked on this matter during the Application Period from May 22,2020 through

    September 30, 2020.'®

                     VI.         SUMMARY OF LEGAL SERVICES RENDERED BY CATEGORY

            32.      The services rendered by PSZ&J during the Application Period can be grouped

    into the categories set forth below. PSZ&J attempted to place the services provided in the

    category that best relates to such services. However, because certain services may relate to one

    or more categories, services pertaining to one category may in fact be included in another

    category. These services performed, by categories, are generally described below; with a more

    detailed identification of the actual services provided set forth on the attached Invoices, which

    identify the attorneys and paraprofessionals who rendered services relating to each category,

    along with the number of hours for each individual and the total compensation sought for each
    category.

    A.      Asset Analvsis/Recoverv

            33.      Time billed to this category related to work regarding asset analysis and recovery

    issues. During the Application Period, the Firm, among other things: (1)reviewed and
    analyzed ordinary course professionals and insider payment motions;(2)reviewed and analyzed
    financial reports and reviewed and analyzed redaction issues;(3)performed work regarding a
    document production request;(4)performed research regarding lien perfection issues;(5)
    reviewed and analyzed issues regarding discovery of underlying medical records;(6)reviewed


    '® True and correct copies of the Invoices are appended to the Firm's monthly fee statements attached to the
    Application as Exhibits"A","B","C"and "D" and are incorporated by reference herein.
                                                        18

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 19 of
                                           45



    and analyzed Parish Deposit Fund issues;(7)performed work regarding insurance document

    requests;(8)reviewed and analyzed CM coverage issues; and(9)corresponded and conferred

    regarding asset analysis and recovery issues.

            34.      The Firm expended 18.10 hours of professional time on services in this category.

    The Firm's professional fees in this category total $12,670.00. The Firm's blended hourly rate

    for this category is $700.00/hour.

    B.      Asset Disposition

            35.      Time billed to this category related to work regarding sales and other asset

    disposition issues. During the Application Period,the Firm, among other things: (1)reviewed

    and analyzed lien avoidance issues;(2)reviewed and analyzed issues regarding an objection to

    private sale motion;(3)reviewed and analyzed a motion to sell 4119 St. Elizabeth; and (4)

    drafted an opposition to sale motion.

            36.      The Firm expended 3.40 hours of professional time on services in this category.

    The Firm's professional fees in this category total $2,380.00. The Firm's blended hourly rate for

    this category is $700.00/hour.

    C.      Bankruptcy Litigation

            37.      Time billed to this category related to work regarding motions, adversary

    proceedings and other litigation matters in the Bankruptcy Court. During the Application Period,
    the Firm,among other things: (1)reviewed and analyzed issues regarding Second Day hearings;

    (2)performed research regarding removal and remand issues;(3)performed research regarding
    dismissal issues;(4)reviewed and analyzed First Day Motions regarding cash management and

    wage issues;(5)reviewed and analyzed solvency issues;(6)reviewed and analyzed case strategy
    and jurisdictional issues;(7)reviewed and analyzed issues regarding abstention in personal
                                                      19

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 20 of
                                           45



    injury matters;(8)performed work regarding a confidentiality order;(9)reviewed and analyzed

    issues regarding First Day motion responses;(10)performed work regarding objections to final

    orders on First Day pleadings;(11)reviewed and analyzed a utility motion and order;(12)

    reviewed and analyzed first day orders regarding cash management, Jones Walker retention and

    insurance issues;(13)reviewed and analyzed insurance coverage issues;(14) performed work

    regarding a brief in support of motion to remand;(15)performed work regarding a document

    production request, including a review offinancial information. Schedules, Statements and

    financial filings;(16)reviewed and analyzed removed lawsuits;(17)reviewed and analyzed

    Catholic Mutual documents;(18)reviewed and analyzed a litigation motion;(19)reviewed and

    revised a document request in light ofinsurance issues;(20)reviewed and analyzed definitions

    needed for the document production request;(21) drafted, and reviewed and revised, a motion to

    dismiss;(22) performed work regarding a Bankruptcy Rule 2004 examination request;(23)

    reviewed and analyzed issues regarding a bar date motion;(24)performed work regarding

    contested bar date issues;(25)attended to document production requests related to the motion to

    dismiss and bar date issues;(26)performed work regarding interrogatories;(27)reviewed and

    analyzed, and performed research regarding, notice issues;(28)reviewed and analyzed a motion
    to strike and performed work regarding a response;(29)prepared for and attended a hearing on
    July 14, 2020 regarding sale and retention issues;(30)reviewed and analyzed discovery requests

    and a response to the Debtor's opposition to request to produce documents;(31)prepared for and
    attended a hearing on July 16,2020 on retention issues, motion to strike and status conference on
    the dismissal motion;(32)performed work regarding a motion to expedite discovery;(33)

    reviewed and analyzed issues regarding noticing alternatives;(34) performed work regarding a
    notice ofdeposition ofthe Debtor;(35) performed work regarding an opposition to case transfer;
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    DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 21 of
                                           45



   (36) prepared for and met with the Committee's subcommittee regarding bar date matters;(37)

    reviewed and analyzed confidentiality orders;(38)prepared for and participated in a telephonic

    meet and confer regarding discovery issues;(39)reviewed and analyzed issues regarding

    confessional privilege;(40)reviewed and analyzed issues regarding an opposition to notice for

    bar date;(41)reviewed and analyzed the Catholic Mutual opposition to motion to remand;(42)

    performed work regarding a revised confidentiality agreement;(43)performed work regarding a

    potential motion to compel;(44)reviewed and analyzed issues regarding a motion for a

    protective order and form of order;(45)performed work regarding a scheduling order;(46)

    reviewed and analyzed issues regarding the remand of personal injury cases and the removal of

    diocese cases to the Bankruptcy Court;(47) performed work regarding a response to motion for

    protective order;(48)reviewed and revised a notice for deposition on bar date notice issues;(49)

    reviewed and revised a reply to motion to remand personal injury action;(50)performed work

    regarding revisions to proposed protective order;(51)drafted evidentiary objections and motions
    to strike portions ofdeclarations filed in support ofthe Debtor's Expedited Motion for Protective
    Order;(52) prepared for and attended a hearing on July 29,2020 regarding remand and transfer
    motions;(53)prepared for and attended a hearing on July 30, 2020 regarding protective order
    and bar date document production issues;(54)reviewed and analyzed strategy for an evidentiary
    hearing and discovery issues;(55)reviewed and analyzed witness and exhibit lists and
    performed work regarding the division of labor and strategy related to the motion to dismiss and
    bar date hearings;(56)reviewed and analyzed the Debtor's document production and written
    discovery responses;(57)attended to trial preparation issues;(58)reviewed and analyzed
    evidentiary hearing strategy;(59)reviewed and analyzed issues regarding expert reports
    concerning solvency;(60)performed work regarding a supplemental brief in support of remand;
                                                   21

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 22 of
                                           45



   (61)reviewed and analyzed the Debtor's responses to discovery demands and motions to

    compel;(62)prepared for and participated in a meet and confer telephonic conference on August

    4, 2020 regarding discovery issues;(63)reviewed and analyzed documents produced by the

    Debtors;(64)reviewed and analyzed issues regarding a rebuttal to Archdiocese's expert report;

   (65)attended to issues regarding the Archdiocese not following up on meet and confer issues;

   (66)attended to deposition noticing and scheduling issues;(67)reviewed and analyzed issues

    regarding the Debtor's financial expert's report;(68) prepared a summary of documents

    produced;(69)reviewed, analyzed and coded produced documents in connection with pending

    depositions;(70) performed work regarding a chart of witness issues and strategy;(71)reviewed

    and analyzed issues regarding an expert rebuttal report;(72)performed work regarding

    deposition exhibit issues;(73)performed work regarding preparation for the depositions of Carr,
    Entwistle, Zuniga and Riggs;(74) prepared for and attended a telephonic meet and confer on

    August 10, 2020 regarding discovery issues;(75)performed work regarding summarizing
    information produced in Archdiocese's documents for use in depositions;(76)performed work
    regarding finalizing exhibits for use in the Carr and Entwisle depositions;(77)reviewed and
    analyzed alienation of goods and ultra vires issues;(78)performed work regarding preparation
    for the Carr and Entwistle depositionsjncluding retrieval of exhibits, pre-marking exhibits, and

    coordination oflogistics;(79)prepared for and attended the depositions of Carr and Entwisle on
    August 12, 2020;(80)performed work regarding summarizing the Carr and Entwisle depositions
    and reviewing and analyzing strategy going forward;(81)performed work regarding the
    preparation of exhibits for the Zuniga deposition;(82)reviewed and analyzed expert witness
    issues and documents regarding the motion to dismiss;(83)performed work regarding finalizing
    deposition exhibits for the Zuniga deposition;(84)reviewed and analyzed an expert rebuttal
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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 23 of
                                           45



    report and performed work regarding a notice of errata;(85)reviewed and analyzed documents

    in preparation for the Zuniga deposition;(86) performed work in preparation for the Zuniga

    deposition including retrieval of exhibits, pre-marking of exhibits and coordination of logistics;

   (87) prepared for and attended the deposition ofZuniga on August 14,2020;(88)performed

    work regarding a list of documents requested at depositions with references to draft deposition

    transcript page and line cites;(89)reviewed and analyzed a protective order regarding sharing of

    information with Committee members and their counsel;(90)prepared for and attended a Court

    conference on August 14, 2020 regarding the bar date motion to compel and related scheduling

    matters;(91)attended to issues regarding the division oflabor for remaining discovery, trial

    preparation and trial;(92)reviewed and analyzed issues regarding the CRI expert report;(93)

    reviewed and analyzed documents BRG relied upon in preparing an expert rebuttal report;(94)

    performed work regarding a statement concerning remote witnesses;(95)prepared for trial on

    the motion to dismiss, including labeling documents and retrieving and organizing necessary

    exhibits;(96)coordinated deposition exhibits for the deposition of Riggs;(97)reviewed and

    analyzed the Debtor's opposition to motion to dismiss and a potential motion in limine',(98)

    prepared for and attended the depositions of Riggs and Shields on August 17, 2020;(99)

    reviewed and analyzed issues regarding the use of deposition transcripts at the evidentiary

    hearing;(100)reviewed and analyzed issues regarding an exhibit list and evidentiary hearing
    procedures;(101)reviewed and analyzed a joint exhibit list and compared it to deposition
    exhibits, motion to dismiss exhibits and the Committee's draft exhibit list;(102)attended to

    issues regarding demonstrative exhibits for the evidentiary hearing;(103)reviewed and.analyzed
    pleadings and deposition transcripts in preparation for the evidentiary hearing;(104)performed
    work regarding preparation of oral argument;(105) performed work regarding video depositions
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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 24 of
                                           45



    for evidentiary hearing;(106)prepared for and attended an evidentiary hearing on August 20,

    2020 on the motion to dismiss;(107)reviewed and analyzed issues regarding a post-hearing

    brief;(108) performed legal research for the post-hearing brief;(109)reviewed and analyzed

    hearing and deposition transcripts regarding the post-hearing brief;(110)prepared for and

    attended a hearing on August 28,2002;(111)reviewed and compiled documents for Kinsella

    Media;(112)reviewed and analyzed a motion for approval of bond settlement;(113)reviewed

    and analyzed an order extending the time for J. Romero to file dischargeability complaint;(114)

    reviewed and analyzed a motion on indenture trustee settlement;(115)reviewed and analyzed

    issues regarding Schedules and Statements;(116)reviewed and analyzed standing issues;(117)

    reviewed and analyzed bond indenture disputes and potential discovery; and (118)corresponded

    and conferred regarding bankruptcy litigation issues.

            38.      The Firm expended 555.90 hours of professional time on services in this category.

    The Firm's professional fees in this category total $366,960.00. The Firm's blended hourly rate

    for this category is S660.12/hour.

    D.      Case Administration

            39.      This category includes work related to administering the cases in an efficient

    marmer. During the Application Period, the Firm, among other things: (1) performed work

    regarding a summary of First Day pleadings;(2)performed work regarding case strategy issues;
   (3)reviewed and analyzed case background issues;(4)performed work regarding meeting
    agenda;(5) maintained a work-in-progress memorandum;(6)reviewed and analyzed the case
    docket and drafted a summary of pending case issues and entered orders;(7) maintained a

    critical date memorandum;(8)reviewed and analyzed mediation issues;(9)reviewed and



                                                     24

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 25 of
                                           45



    analyzed by-law issues and noticing protocols and procedures;(10)attended to redaction issues;

    and (11)conferred and corresponded regarding case administration issues,

            40.      The Firm expended 34.50 hours of professional time on services in this category.

    The Firm's professional fees in this category total 18,155.00. Therefore, the Firm's blended

    hourly rate for this category is $526.23/hour.

    E.      Claims Administration/Objection

            41.      This category includes work related to claims administration and claims objection

    issues. During the Application Period, the Firm, among other things: (1)reviewed and analyzed

    the Debtor's proposed bar date motion;(2)reviewed and analyzed proposed bar date notice

    issues;(3)reviewed and analyzed redaction issues;(4)performed work regarding comments to a

    proposed bar date motion, exhibits, notice and order;(5)attended to media issues regarding the
    bar date motion;(6)reviewed and analyzed an ex parte bar date motion and performed work

    regarding an objection to such motion;(7)reviewed and analyzed bar date program issues with a

    claims noticing consultant;(8)responded to inquiries regarding bar date issues;(9)performed

    work regarding an outline ofissues for bar date litigation;(10)reviewed and analyzed sample

    claims and publication procedures regarding the bar date motion;(11)reviewed and analyzed
    discovery issues regarding bar date issues;(12)reviewed and analyzed channeling injunction
    issues;(13)reviewed and analyzed issues regarding future claims representative;(14)performed
    research regarding notice issues;(15)reviewed and analyzed a Duff& Phelps report regarding
    claims bar date noticing procedures;(16)reviewed and analyzed a motion to pay secured claim;
   (17)reviewed and analyzed claim bar date proposals regarding adequate notice issues;(18)
    reviewed and analyzed issues regarding claims noticing advisor;(19)performed work regarding
    a claims estimation memorandum;(20)reviewed and analyzed responses to bar date motion

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    DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 26 of
                                           45


    discovery requests and next steps;(21)performed work regarding a meet and confer email to

    Debtor's counsel regarding discovery objections, scheduling order and deposition issues;(22)

    performed work regarding a revised proof of claim form and related notice documents;(23)

    reviewed and analyzed strategy for evidentiary hearing;(24)performed work regarding a

    deposition notice;(25) performed work regarding a motion to compel production of documents

    regarding bar date motion;(26)performed work regarding a memorandum relating to estimation

    ofclaims;(27)reviewed and analyzed bar date orders and expert reports;(28)performed work

    regarding an expedited motion to compel Archdiocese's production ofdocuments relating to bar

    date motion;(29) prepared for and attended a telephonic meet and confer on August 4, 2020

    regarding the Archdiocese's refusal to produce documents relating to the bar date motion;(30)

    reviewed and revised a form of notice of bar date;(31)performed work regarding background

    for supplemental opposition to bar date motion;(32)reviewed and finalized the expedited

    motion to compel the Archdiocese's production of documents regarding the bar date motion,

    including declarations in support, proposed order thereon, and ex parte motion and order thereon;
   (33)reviewed and analyzed forms of order in other diocese cases regarding proposing form of
    bar date order and direct service provisions, and worked on revising form of bar date order;(34)

    performed work regarding bar date settlement discussions;(35)performed work regarding a
    memorandum outlining issues to address for supplemental opposition to bar date motion;(36)

    reviewed and analyzed a motion to pay secured claim;(37)performed research regarding
    statutory lien and avoidance issues relating to motion for authority to pay secured fee claims;
   (38)reviewed and analyzed the Debtor's response to discovery and performed research regarding
    legal grounds for failure to respond;(39)performed work regarding a supplemental opposition to
    motion to set bar date;(40)reviewed and analyzed the Conte data reports and drafted a

                                                    26

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 27 of
                                           45



    declaration in support ofsupplemental opposition to bar date motion;(41)reviewed and

    analyzed issues regarding direct and publication notice;(42) performed legal research regarding

    the Courig asserted attorneys' lien;(43)performed work regarding the declaration of Linda

    Cantor in support ofsupplemental objection to bar date motion;(44)attended to scheduling

    issues regarding dates for continued motion to compel;(45)reviewed and analyzed issues

    regarding the status of negotiations with the Debtor regarding the bar date motion;(46)

    performed work regarding an application and supporting declaration to retain Jon Conte as

    expert on child abuse;(47)prepared for and attended a telephonic status conference on the bar

    date motion and motion to compel;(48)reviewed and analyzed bar date service list issues;(49)

    performed work regarding a chart with analysis of bar date orders in other diocese cases;(50)

    reviewed and analyzed the Archdiocese's opposition to motion to compel production of

    documents and performed work regarding a reply brief concerning motion to compel production

    of documents related to bar date;(51)reviewed and analyzed due process issues;(52)outlined

    document requests, responses and legal issues, and prepared for and attended a hearing on

    August 28, 2020 regarding the motion to compel production of documents relating to the bar date
    motion;(53)reviewed and analyzed expert witness report issues;(54)reviewed and analyzed bar

    date direct notice issues in light of hearing on motion to compel production of documents;(55)

    reviewed and analyzed privilege issues relating to potential expert witness;(56)performed work

    regarding the retention of Kinsella Media;(57)performed work regarding abuse claims

    publication notice issues;(58)reviewed and revised the supplemental objection and outlined

    issues for bar date objection hearing;(59)reviewed and analyzed expert opinions regarding bar

    date order matters;(60)reviewed and analyzed Diocese case dockets, pleadings, notice protocols

    and plan provisions regarding injunctions relating to currently contested issues;(61)performed
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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 28 of
                                           45



    work regarding a memorandum summarizing pending negotiations and outstanding issues;(62)

    reviewed and analyzed an expert report regarding supplemental objection to bar date motion;

    (63)performed research regarding due process notice issues;(64) performed work regarding the

    Wheatman declaration;(65)performed research regarding Federal guidelines on notice and

    reviewed and analyzed notice issues for bar date;(66)reviewed and analyzed declarations in

    support of bar date opposition;(67)reviewed and analyzed publication protocol;(68)reviewed

    and analyzed issues regarding credibly accused lists;(69)reviewed and analyzed bar date order

    provisions regarding non-debtor entities;(70)reviewed and analyzed bar date pleadings and

    outlined issues for argument;(71)reviewed and analyzed the Debtor's reply to supplemental

    objection to bar date order;(72)reviewed and analyzed pleadings and documents, and drafted

    argument outlines, in preparation for a hearing on bar date motion;(73)prepared for and

    attended a hearing on September 17,2020 on the bar date motion;(74)performed work

    regarding a revised form of bar date order;(75) performed work regarding a bar date notice

    publication plan;(76)reviewed and analyzed a hearing transcript and performed work regarding

    revised form of order, proof ofclaim and forms of notice;(77)reviewed and analyzed the

    Debtor's revised publication plan;(78)reviewed and revised sexual abuse proof ofclaim form

    and proposed order granting bar date motion;(79) prepared for and attended a continued hearing

    on September 24, 2020 on the bar date motion;(80)performed work regarding a clergy list for

    publication matters;(81) performed research regarding a list of sexual abusers and supporting

    details for a Committee website;(82) performed work regarding redrafts of notices, proof of

    claim form, and bar date order;(83) performed research regarding complaints and dockets

    relating to archdiocese abuse issues;(84)performed work regarding revised forms of exhibits to



                                                  28

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 29 of
                                           45



    bar date order;(85) prepared for and appeared at a hearing on September 30,2020 regarding bar

    date order; and (86)corresponded and conferred regarding claim issues.

            42.      The Firm expended 413.10 hours of professional time on services in this category.

    The Firm's professional fees in this category total $280,820.50. The Firm's blended hourly rate

    for this category is $679.79/hour.

    F.      Employee Benefit/Pension


            43.      This category includes work related to employee benefits and pension plans, and

    other employee issues. During the Application Period, the Firm, among other things: (1)

    reviewed and analyzed issues regarding the definition ofretired employee;(2)reviewed and

    analyzed a motion to compensate insiders;(3)performed work regarding summaries of Ordinary

    Course Professionals and Insider motions; and(4)reviewed and analyzed issues regarding

    Section 1114 and pension plan issues.

            44.      The Firm expended 11.00 hours of professional time on services in this category.

    The Firm's professional fees in this category total $7,700.00. The Firm's blended hourly rate for

    this category is $700.00/hour.

    G.      Fee/Emplovment Application

            45.      This category includes work related to professional fee and employment

    applications issues. During the Application Period,the Firm, among other things: (1)reviewed

    and analyzed a fee procedures order;(2)reviewed and analyzed pro hac vice documents and

    issues;(3)performed work regarding pro hac vice applications and orders for James Stang,

    Linda Cantor, and Joshua Fried;(4)reviewed and analyzed disinterestedness and potential

    conflicts of interest issues regarding the Jones Walker retention;(5)performed research;(6)

    attended to issues regarding certificates of good standing;(7)reviewed and analyzed issues

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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 30 of
                                           45



    regarding potential objections to the Jones Walker retention application;(8) performed work

    regarding a memorandum concerning the Jones Walker retention application;(9)reviewed and

    analyzed potential preferential transfer issues regarding the Jones Walker matter;(10) performed

    work regarding a conflicts chart;(11) performed work regarding the selection process for a

    Committee financial advisor;(12) performed work regarding the PSZ&J retention application;

   (13)attended to issues regarding the Locke Lord retention application;(14)reviewed and

    analyzed the Riggs retention application;(15)reviewed and analyzed an ordinary course

    professionals motion;(16)performed work regarding a motion to retain BRG as Committee

    financial advisor;(17)reviewed and revised the BRG retention application;(18)reviewed and

    analyzed interim compensation procedures relating to fee statements and reviewed and analyzed
    United States Trustee Guidelines;(19)performed work regarding the Firm's monthly fee

    statements;(20)reviewed and analyzed ordinary course professional applications regarding
    possible objections;(21)reviewed and analyzed ordinary course professional declarations and
    prepared an analysis ofsuch declarations;(22)performed work regarding the application to
    retain Jon Conte;(23)performed work regarding the Wheatman retention application;(24)
    performed work regarding the application to retain Kinsella Media;(25)performed work
    regarding an ex parte motion for expedited hearing on the employment applications ofJon Conte
    and Kinsella Media;(26) prepared for and attended a hearing on September 9,2020 regarding
    the retention of professionals; and (27)corresponded and conferred regarding fee and
    employment issues relating to professionals.

            46.      The Firm expended 91.20 hours of professional time on services in this category.
    The Firm's professional fees in this category total $56,400.00. The Firm s blended hourly rate
    for this category is $618.42/hour.

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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 31 of
                                           45



    H.      Financing


            47.      This category relates to work regarding Debtor in Possession financing and cash

    collateral issues. During the Application Period, the Firm, among other things: (1)reviewed and

    analyzed a cash collateral order and performed work regarding objections to such order;(2)

    reviewed and analyzed a cash management order and performed work regarding objections to

    such order;(3)reviewed and analyzed guaranty and ipsofacto clause issues;(4)reviewed and

    analyzed springing lien and attachment issues;(5)reviewed and analyzed the Hancock Whiting

    Bank security interests;(6)reviewed and analyzed statutory lien issues;(7)reviewed and

    analyzed documents regarding Whitney Hancock Bank;(8) performed work regarding proposed

    revisions to the cash management and cash collateral orders;(9) performed work regarding an

    objection to the cash collateral motion;(10)reviewed and analyzed adequate protection issues;

   (11)reviewed and analyzed lien perfection under Louisiana State law;(12)reviewed and

    analyzed budget issues;(13)reviewed and analyzed insurance and reinsurance issues; and (14)

    conferred and corresponded regarding financing issues.

            48.      The Firm expended 42.60 hours of professional time on services in this category.

    The Firm's professional fees in this category total $29,820.00. The Firm's blended hourly rate
    for this category is $618.42/hour.

    L       General Creditors Committee

            49.      This category includes work related to general Committee issues. During the

    Application Period, the Firm, among other things: (1)prepared for and met with the Committee
    regarding case status and strategy issues;(2)prepared for and met with State Court Counsel
    regarding case status and strategy issues;(3)performed work regarding meeting agenda;(4)
    reviewed and analyzed issues regarding pending motions;(5)reviewed and analyzed Section 341
                                                     31

    DOCS LA:334I59.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 32 of
                                           45



    meeting issues;(6)reviewed and analyzed statute of limitations issues;(7)reviewed and

    analyzed bar date issues;(8)performed work regarding by-laws;(9)reviewed and analyzed

    issues regarding the Debtor's structure and regarding priest support;(10)reviewed and analyzed

    issues regarding remand;(11)attended to professional employment issues;(12) performed work

    regarding notices of appearance;(13)reviewed and analyzed issues concerning the Archdiocese

    representations regarding compensation of victims;(14)reviewed and analyzed Schedules and

    Statements, and prepared for and attended a Section 341 meeting of creditors on May 29,2020;

   (15)attended to follow-up issues arising from the Section 341 meeting;(16)reviewed and

    analyzed issues regarding financial advisor retention;(17)reviewed and analyzed case dismissal

    issues;(18)attended to discovery and document production issues;(19)reviewed and analyzed

    cash collateral issues;(20)performed work regarding interviews with potential Committee

    financial advisors;(21)performed work regarding a motion to dismiss;(22) attended to issues

    regarding a document production request;(23)performed work regarding a Section 1102 motion
    for Committee information sharing;(24)reviewed and analyzed confidentiality order issues;(25)

    attended to issues regarding interviews with noticing firms;(26)reviewed and analyzed
    discovery issues related to bar date;(27)reviewed and analyzed issues regarding depositions,
    evidence, arguments and hearing related to the motion to dismiss;(28)reviewed and analyzed
    issues regarding documents produced relating to the motion to dismiss;(29)reviewed and
    analyzed United States Trustee rules and regulations;(30)reviewed and analyzed budget issues;
    (31)attended to fee estimate issues;(32)reviewed and analyzed mediation issues;(33)reviewed
    and analyzed bondholder settlement issues;(34)attended to issues regarding a proposed
    settlement between the Debtor and the Bond Trustee;(35)reviewed and analyzed Committee

    membership issues; and (36)corresponded and conferred regarding Committee issues.
                                                  32

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 33 of
                                           45



            50.      The Firm expended 173.30 hours of professional time on services in this category.

    The Firm's professional fees in this category total $121,310.00. The Firm's blended hourly rate

    for this category is $700.00/hour.

    J.      Operations


            51.      This category includes work related to operations issues. During the Application

    Period, the Firm, among other things: (1)reviewed and analyzed Schedules and Statements;(2)

    reviewed and analyzed a First Day motion regarding insurance issues and reviewed and analyzed

    Catholic pool insurance information;(3)reviewed and analyzed a sale regarding due diligence

    and appraisal issues;(4)reviewed and analyzed financial statements and corporate documents;

   (5)performed work regarding insurance issues concerning a document request;(6)reviewed and
    analyzed ordinary course professional issues;(7)reviewed and analyzed Monthly Operating
    Report issues;(8)reviewed and analyzed a CM policy regarding coverage and missing materials;
   (9)reviewed and analyzed issues regarding Madonna Manor; and (10)conferred and

    corresponded regarding operations issues.

            52.      The Firm expended 16.70 hours of professional time on services in this category.

    The Firm's professional fees in this category total $11,690.00. The Firm's blended hourly rate
    for this category is $700.00/hour.

    K.      Stay Litigation

            53.      Time billed to this category relates to the automatic stay and relieffrom stay

    motions. During the Application Period,the Firm, among other things: (1)reviewed and

    analyzed a relieffrom stay motion;(2)reviewed and analyzed a motion for summary judgment
    by Catholic Mutual Insurance and reviewed and analyzed stay violation issues;(3)performed
    work regarding an opposition to motion for partial relieffrom stay;(4)reviewed and analyzed
                                                      33

    DOCS LA;334I59.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 34 of
                                           45



   the motion to lift stay in the JW Doe matter; and (5)reviewed and analyzed a motion to approve

    settlement.


            54.      The Firm expended 22.70 hours of professional time on services in this category.

    The Firm's professional fees in this category total 15,890.00. The Firm's blended hourly rate for

   this category is $700/hour.

             VII.     ACTUAL AND NECESSARY EXPENSES INCURRED BY PSZ&J

            55.      As summarized below,PSZ&J has incurred a total of$6,859.09 in expenses on

    behalf ofthe Committee during the Application Period. PSZ&J customarily charges $0.10 per

    page for photocopying expenses. PSZ&J's photocopying machines automatically record the
    number of copies made when the person that is doing the copying enters the client's account

    number into a device attached to the photocopier. PSZ&J summarizes each client's

    photocopying charges on a daily basis.

            56.      PSZ&J charges $1.00 per page for out-going facsimile transmissions. There is no

    additional charge for long distance telephone calls on faxes. The charge for outgoing facsimile
    transmissions reflects PSZ&J's calculation ofthe actual costs incurred by PSZ&J for the

    machines, supplies and extra labor expenses associated with sending telecopies and is reasonable
    in relation to the amount charged by outside vendors who provide similar services. PSZ&J does

    not charge the Committee for the receipt offaxes in this case.

            57.      With respect to providers of on-line legal research services (e.g., LEXIS and
    Westlaw),PSZ&J charges the standard usage rates these providers charge for computerized legal
    research. PSZ&J bills its clients the actual amounts charged by such services, with no premium.

    Any volume discount received by PSZ&J is passed on to the client.


                                                     34

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 35 of
                                           45



            58.      PSZ&J believes that the foregoing rates are the market rates that the majority of

   law firms charge clients for such services. In addition, PSZ&J believes that such charges are in

   accordance with the American Bar Association's("ABA")guidelines, as set forth in the ABA's

    Statement of Principles, dated January 12,1995,regarding billing for disbursements and other

    charges^

            59.      The Firm's specific expenses are outlined below:

                                  Expense Category                                       Amount


     Lexis/Nexis-Legal Research                                                                  $338.33

     Legal Vision Attorney Messenger Service                                                      $23.00

     Miscellaneous                                                                                 $3.00

     Outside Services                                                                            $123.00


     Pacer- Court Research                                                                       $351.80

     Postage                                                                                      $52.70

     Reproduction Expense                                                                        $417.80

     Reproduction/Scan Copy                                                                      $448.20


     Research                                                                                   $1,361.94

     Transcript                                                                                 $1,723.63

     TOTAL                                                                                      $6,859.09




            60.      The Firm requests that the Court grant it reimbursement for $6,859.09 in

    reimbursable expenses it incurred on the Committee's behalf during the Application Period.
                                  VIII. VOLUNTARY REDUCTIONS

            61.      For purposes ofthis Application, the Firm made certain voluntary reductions from
    the award sought. The Firm agreed to cap its fees to the extent the fees incurred under the
                                                      35

    DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 36 of
                                           45



   standard hourly rates exceed a blended hourly rate of$700. Therefore, the amount offees

   incurred on the Firm's monthly invoices reflect the Firm's blended hourly rates as opposed to the

   Firm's standard hourly rates. The Firm's reduction in its standard rates resulted in a $388,880.00

   reduction in its fees. Further, the Firm took additional voluntary reductions that totaled

   $45,694.60, for a total of$434,574.60 in voluntary reductions taken by the Firm. The Firm

    believes that these reductions are appropriate and reasonable.

    IX.     STATEMENT IN COMPLIANCE WITH RULE 2016 OF THE FEDERAL RULES
                                   OF BANKRUPTCY PROCEDURE

            62.      As more fully described in the Retention Application, the Committee agreed to

   retain the Firm as their counsel and to compensate the Firm on an hourly basis in accordance

    with the Firm's retention application, plus reimbursement ofthe actual and necessary expenses

   that the Firm incurred in connection with the Bankruptcy Case. All compensation for services

    rendered, and reimbursement for expenses incurred, are subject to this Court's approval in

    accordance with the Retention Order, Bankruptcy Code §§ 330 and 331,the Federal Rules of

    Bankruptcy Procedure(the "Bankruptcy Rules"), the Local Bankruptcy Rules ofthe Eastern
    District of Louisiana(the "Local Bankruptcy Rules"), and other procedures that this Court may

    fix. No entity has promised to compensate the Firm for any services rendered, or reimburse it for
    expenses incurred, in connection with this case except as this Court may approve.
            63.      No agreement or understanding exists between the Firm and any other entity for
    the sharing of any compensation or reimbursement(i)that the Firm may receive for services
    rendered in, or in connection with, this Bankruptcy Case or (ii) that such other entity has already
    received or may receive for services that entity rendered in, or in connection with this
    Bankruptcy Case, except that the Firm will share any compensation or reimbursement it receives

                                                    36

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 37 of
                                           45



   in connection with this Bankruptcy Case with its members, partners, associates, and other Firm

   employees(as originally disclosed in the Retention Application).

            64.      As oftoday's date, the Firm has received $308,344.03 from the Debtor on its First

    Monthly Fee Statement and its Second Monthly fee Statement.

              X.       THE REQUESTED COMPENSATION SHOULD BE ALLOWED

            65.      Section 330 provides that a court may award a professional employed under 11

    U.S.C § 328 "reasonable compensation for actual, necessary services rendered ... and

   reimbursement for actual, necessary expenses." See 11 U.S.C. Section 330(a)(1). Section 330

    also sets forth the criteria for the award of such compensation and reimbursement:

            In determining the amount of reasonable compensation to be awarded ...,the
            court should consider the nature, the extent, and the value ofsuch services, taking
            into account all relevant factors, including -


                    (A)          the time spent on such services;

                    (B)          the rates charged for such services;

                    (C)          whether the services were necessary to the administration of, or beneficial
                                 at the time at which the service was rendered toward the completion of, a
                                 case under this title;

                    (D)          whether the services were performed within a reasonable amount oftime
                                 commensurate with the complexity, importance, and nature ofthe
                                 problem, issue, or task addressed;

                    (E)          with respect to a professional person, whether the person is board certified
                                 or otherwise has demonstrated skill and experience in the bankruptcy
                                 field; and

                    (F)          whether the compensation is reasonable based on the customary
                                 compensation charged by comparably skilled practitioners in cases other
                                 than cases under this title.




                                                           37

    DOCS LA:334I59.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 38 of
                                           45



    11 U.S.C.§ 330(a)(3).

            66.      Here,PSZ&J respectfully submits that the services for which it seeks

   compensation in this Application were, at the time rendered, believed to be necessary for,

    beneficial to, and in the best interests of, the Committee. PSZ&J,on behalf ofthe Committee,

   among things, performed litigation work on an extensive and expedited basis related to the

   claims bar date and a motion to dismiss. The services rendered by PSZ&J were consistently

    performed in a timely manner commensurate with the complexity, importance, and nature ofthe

   issues involved.

            67.      PSZ&J has a reputation for its expertise and experience in financial and

    bankruptcy reorganizations and restructurings and as noted above,the compensation is
    reasonably based on customary compensation charged by other practitioners in non-bankruptcy
    cases. Based on an application ofthe above factors and its compliance with the UST Guidelines,
    PSZ&J respectfully submits that the compensation requested herein is reasonable in light ofthe
    nature, extent and value ofsuch services to the Committee and, accordingly, that approval ofthe
    compensation sought herein is warranted.

            68.      Section 330 ofthe Bankruptcy Code authorizes the Court to award the Firm

    reasonable compensation for its actual and necessary legal services rendered and reimbursement
    of actual and necessary expenses incurred in the rendering ofthose legal services as counsel to
    the Committee in this case. Bankruptcy Code § 330(a)(1) provides as follows:

            (a)(1) After notice to the parties in interest and the United States Trustee and a
            hearing, and subject to sections 326, 328, and 329,the court may award to a tmstee, a
            consumer privacy ombudsman appointed under section 332, an examiner, an
            ombudsman appointed under section 333, or a professional person employed under
            section 327 or 1103—

                     (A)         reasonable compensation for actual, necessary services rendered by the
            trustee, examiner, ombudsman, professional person, or attorney and by any
                                                         38

    DOCS LA:334159.I 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 39 of
                                           45



            paraprofessional person employed by any such person; and

                    (B)          reimbursement for actual, necessary expenses.

    11 U.S.C.§ 330(a)(1).

            69.      This Application substantiates the total amount the Firm seeks for fees and

    expenses in accordance with this Court's standards applied to fee applications. The factors that

    courts in this jurisdiction consider when making a discretionary award ofreasonable attorneys'

    fees and reimbursable expenses were originally described in Johnson v. Georgia Highway

    Express, Inc., 488 F.2d 714,717-19(5th Cir. 1974)(the ''Johnson Factors"). The Fifth Circuit

    has applied the Johnson Factors to the determination of awards of attorneys' fees and expenses

    in bankruptcy cases. In re First Colonial Corp. ofAm., 544 F.2d 1291 (5th Cir. 1977), cert,

    denied 431 U.S. 904(1977). Many ofthese Johnson Factors have now been codified at

    Bankruptcy Code § 330(a)(3). 11 U.S.C. § 330(a)(3).

            70.      The Johnson Factors are summarized as follows:(1)the time and labor required;

   (2)the novelty and difficulty ofthe questions presented;(3)the skill required to perform the
    legal services;(4)the preclusion of other employment by the attorneys due to acceptance ofthe
    bankruptcy case;(5)the customary fee;(6) whether the fee is fixed or contingent;(7)time
    limitations imposed by the client or circumstances;(8)the amounts involved and the results
    obtained;(9)the experience, reputation and ability ofthe attorneys;(10)the "undesirability" of
    the case;(11)the nature and length ofthe professional relationship with the client; and(12)
    awards in similar cases.*' Based upon the services described in this Application, the Firm

    respectfully represents that it has fully satisfied the standards prescribed by the Johnson Factors.



    '' The factors enunciated in Johnson have been adopted by four other courts of appeals. See Boston & Maine Corp. y.
    Sheehan, Phinney, Bass & Green,778 F.2d 890,896(1st Cir. 1985); Harman v. Levin, 772 F.2d 1151, 1152-53(4th Cir.
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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 40 of
                                           45


   The Time and Labor Required


            71.     Firm attorneys and paraprofessionals, in the performance oflegal services,

   expended 1,376.50 hours during the Application Period for a total fee of$900,175.50.                  Taking

   into account the Firms' volxmtary reductions,the blended hourly rate is therefore $653.96/hour.

   The names ofthe professionals who worked on this ciase during the Application Period appear in
   the Invoices and on the cover sheet attached to this Application. The Firm submits that the time

   and labor these professionals expended in the Bankruptcy Case are appropriate and reasonable

   and that this Johnson Factor supports the Firm's requested award. Further, the amount oftime

   multiplied by a reduced, and reasonable, fee suggests that the fee award is appropriate in this

   Circuit under the "lodestar" doctrine.

   The Novelty and Difficulty of the Questions Presented

            72.     This Bankruptcy Case presents many novel and difficult questions. Addressing

   these questions have necessitated considerable legal expertise. In light ofthese considerations,

   this Johnson Factor strongly favors awarding the Firm the fees and expenses it has requested.
   The Skill Required to Perform the Services

            73.     Representing the Committee in this Bankruptcy Case required considerable skill

   and expertise in bankruptcy issues. The Firm has considerable experience in complex

   bankruptcy matters. Further, the Firm has represented numerous creditors' committees in cases
   with abuse claims, and has extensive experience in cases involving dioceses and archdioceses of

   the Catholic Church,and thus has a unique understanding ofthe structure and history ofthat



   1985); Mann v. McCombs, 751 F.2d 286, 287-88 (8th Cir. 1984); Yermakov v. Fitzsimmons, 718 F.2d 1465, 1471 (9th
   Cir. 1983).
     This takes into account the Firm's voluntary reductions.
                                                           40

   DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 41 of
                                           45


   institution and its sub-entities, and ofthe nature of its assets. Applicant submits that this

   expertise is also relevant as a factor suggesting a fee award under Local Rule 2016-1 (A)(13).

   The Firm employed attorneys and staff persons of varying levels of skill and expertise to

   efficiently resolve the issues in this case. The Firm strived to limit the number of attorneys who

   worked on this case and to use the most appropriate attorney or staff person for any given task.

   For this reason, the compensation the Firm is requesting for^the services rendered by its attorneys

   and staff persons compares favorably to the compensation awarded in other bankruptcy cases of

   a similar size and complexity. This factor therefore supports the award the Firm has requested.

   Preclusion of Other Employment Due to Acceptance of the Case

            74.      The Firm has not declined any representation solely because it served as counsel

   for the Committee in this Bankruptcy Case. Nonetheless, the Firm did shift certain resources

   from matters involving other clients to address issues arising in this case. In particular, some

   matters during the Application Period involved disputes with the Debtor that involved discovery

   and contested evidentiary hearings, and included many tasks that had to be performed on an

   expedited bases. For this reason, this factor favors granting the award the Firm has sought.

   The Customary Fee


            75.     The Firm computed the amount ofcompensation it seeks in this Application

   according to its customary rates, which rates the Firm previously disclosed in the Retention

   Application. The Firm also maintained detailed time and disbursement records for all legal

   services for which it seeks compensation. The rates charged for the Firm's legal services in this

   case are comparable to other similar-situated firms. These rates also reflect substantial voluntary

   reductions of$388,880.00. Thus, the blended hourly rate on this matter of$653.96 /hour is

   reasonable and reflects market rates for legal services in Chapter 11 bankruptcy cases ofthis size

                                                    41

   DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 42 of
                                           45



   and complexity. Similarly, the amounts sought for the reimbursement of expenses reflect the

   prevailing rates for expense reimbursement by law firms similar in size and reputation to the

   Firm.


   Whether the Fee is Fixed or Contingent

            76.      The Firm's fees for services rendered in this Bankruptcy Case are based on its

   hourly rates, subject in all respects to this Court's approval. The Firm has not requested any

   contingent fee in this Bankruptcy Case.

   Time Limitations Imposed hv the Client or Other Circumstances

            77.      The Firm has had to respond to tight time-constraints arising in this Bankruptcy

   Case. Matters often arose throughout the Application Period that required the Firm's immediate

   attention. Again,the exigent nature ofthese matters demanded that the Firm's professionals
   respond on very short notice to complicated and developing events as they unfolded. This
   imposed serious time demands on the Firm's personnel and required them to devote considerable
    legal resources to these matters. Taken together, these considerations suggest that this Johnson
    Factor supports the fee award requested.

    The Amount Involved and the Results Obtained

            78.      The Invoices summarize the individual tasks that Firm personnel performed

    during the Application Period as well as the amounts charged for those tasks. The total fees the
    Firm seeks to approve in this Application are $900,175. 50. This figure is commensurate with
    the Firm's achievements. This Johnson Factor strongly supports the fee award requested.

    The Experience. Reputation,and Ability of the Attorneys

            79.      The Firm's attorneys have significant experience in bankruptcy and other areas of
    the law, possess a high level ofexpertise, and have an excellent reputation in the business and
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    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 43 of
                                           45



   legal communities. In particular, the Firm's bankruptcy attorneys have appeared in bankruptcy

   cases throughout the United States and have provided services to secured creditors, unsecured

   creditors, creditors' committees, and debtors-in-possession. The quality ofthe Firm's services is

   consistently high. In addition, the Firm's attorneys also speak and write on various legal topics

   throughout the country. As mentioned, the Firm has considerable expertise in cases, such as this

   one, involving numerous abuse claims and sub-entities ofthe Catholic Church. The substantial

   experience, reputation, and ability ofthe Firm's attorneys working on this Bankruptcy Case

   favor granting the Firm the fee award it seeks.

    The "Undesirabilitv** of the Bankruptcy Case

            80.      From the Firm's perspective, serving as counsel to the Committee in this

    Bankruptcy Case was not undesirable. However, bankruptcy cases involved abuse claims and
    religious entities can involve intensive and hard-fought disputes, for example,regarding the
    claims process and the recovery and liquidation of assets. These concerns mean that any law
    firm deciding to represent the Committee could face potential fee risk and other uncertainties.
    This factor therefore favors granting the Firm the award it has requested.

    The Nature and Length of the Professional Relationship with the Client

            81.      The Firm has no prior professional relationship with the Committee, which was

    only formed after this case began. However, members ofthe Firm have worked in similar
    matters, including coordinating issues with State Court counsel, thus making the representation
    ofthe Committee more efficient. For this reason, this Johnson Factor supports granting the Firm

    its fee award in this case.

    Awards in Similar Cases




                                                     43

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 44 of
                                           45



            82.      The fee award the Firm seeks compares favorably to awards granted in other

   bankruptcy cases with a size and complexity similar to this case, including cases in the Fifth

   Circuit. In light ofthese considerations, this last Johnson Factor also supports granting the Firm

   its award.


            83.      In conclusion, the Johnson Factors favor granting the Firm the fee and expense

   award it seeks.

                                  XI.     RESERVATION OF RIGHTS

            84.      It is possible that some professional time expended or expenses incurred by

   PSZ&J are not reflected in this Application. PSZ&J reserves the right to file a supplemental fee

   application to submit additional fees and expenses not previously included in the Application, or
   to include such time and costs in a future fee application.

                                        XII.   NO PRIOR REOUEST

            85.      No prior application for the relief requested herein has been made to this or any

   other court.




                                                      44

    DOCS LA:334159.1 05067/002
Case 20-10846 Doc 571 Filed 11/25/20 Entered 11/25/20 19:18:11 Main Document Page 45 of
                                           45



                                        XIII. CONCLUSION


              WHEREFORE,PSZ&J respectfully requests that this Court enter an order(i) awarding

   PSZ&J an interim allowance offees for the Application Period in the amount of$900,175.50;

   (ii) awarding PSZ&J reimbursement for actual and necessary expenses incurred in the amount of

   $6,859.09;(iii) authorizing and directing the Debtors to pay such allowed fees and costs, less

    amounts previously submitted; and(v)granting such other or additional relief as is just and

    proper.


    Dated: November 25,2020                             Respectfully submitted,

                                                        Bv:/s/Linda F. Cantor
                                                        James I. Stang(OA Bar No. 94435)
                                                        Linda F. Cantor(CA Bar No. 153762)
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                                                        Co-Counsel to the Official Committee of Unsecured
                                                        Creditors




                                                   45

    DOCS LA:334159.1 05067/002
